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                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT
                             OFFICE OF THE CLERK
                              Byron White United States Courthouse
                                       1823 Stout Street
                                    Denver, Colorado 80257
                                        (303) 844-3157
Elisabeth A. Shumaker                                                       Douglas E. Cressler
Clerk of Court                      November 9, 2011                        Chief Deputy Clerk




Mr. D. Mark Jones
United States District Court for the District of Utah
350 South Main Street
150 Frank E. Moss U.S. Courthouse
Salt Lake City, UT 84101

RE:       08-4061, American Atheists, et al v. Duncan, et al
          Dist/Ag docket: 2:05-CV-00994-DS

Dear Clerk:

Please be advised that the mandate for this case has issued today. Please note that the
mandate includes a statement of costs. Please file accordingly in the records of your
court.

Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court



cc:       John Ansbro
          Byron Jeffords Babione
          Brian M. Barnard
          W Benjamin Bull
          Daniel D. Domenico
          John Allen Eidsmoe
          Steven W. Fitschen
          Luke William Goodrich
         Case 2:05-cv-00994-DS Document 313-1 Filed 11/09/11 Page 2 of 2
Appellate Case: 08-4061 Document: 01018741985 Date Filed: 11/09/2011 Page: 2

          David M. Gossett
          Brett Harvey
          Barry C. Hodge
          Gary McCaleb
          Frank D. Mylar Jr.
          Eric C. Rassbach
          Robert V. Ritter
          Thomas Dibblee Roberts
          Michael A. Sink
          Kevin Trent Snider
          Evan Mark Tager



EAS/sls




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